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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

ETLA, LLC,

            Plaintiff,                                    Civil Action No.: 6:21-cv-01005

                 v.

PAYPAL, INC.,                                              JURY TRIAL DEMANDED

            Defendant.



                         COMPLAINT FOR PATENT INFRINGEMENT

       ETLA, LLC (“ETLA” or “Plaintiff”) brings this patent-infringement action against PayPal,

Inc. (“PayPal” or “Defendant”).

                                               Parties

       1.        Plaintiff ETLA is a Pennsylvania limited liability company with its principal place

of business at 121 Lenora Lane, Downingtown PA, 19335.

       2.        Upon information and belief, PayPal is a Delaware corporation, having its principal

place of business in San Jose, California.

                                      Jurisdiction and Venue

       3.        This lawsuit is a civil action for patent infringement arising under the patent laws

of the United States, 35 U.S.C. § 271, et seq. The Court has subject-matter jurisdiction pursuant to

28 U.S.C. §§ 1331, 1332, 1338(a), and 1367.

       4.        The Court has personal jurisdiction over Defendant for the following reasons: (1)

Defendant is present within or has minimum contacts within the State of Texas and Western

District of Texas; (2) Defendant has purposefully availed itself of the privileges of conducting
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business in the State of Texas and in this district; (3) Defendant has sought protection and benefit

from the laws of the State of Texas; (4) Defendant regularly conducts business within the State of

Texas and within this district, and Plaintiff’s cause of action arises directly from Defendant’s

business contacts and other activities in the State of Texas and in this district; and (5) Defendant

has a regular and established place of business in the State of Texas and in this district (Building

D, 7700 W Parmer Ln, Austin, TX 78729).

        5.      Venue is proper in the Western District of Texas pursuant to 28 U.S.C. §§ 1400(b).

Defendant has a regular and established place of business in this district, Defendant has transacted

business in this district, and Defendant has directly and/or indirectly committed acts of patent

infringement in this district.

                                       The Patent-In-Suit

        7.      ETLA is the exclusive owner of United States Patent No. D931,899 (the “’899

patent”) entitled, “Display screen portion with animated graphical user interface” and was duly

and legally issued in accordance with 35 U.S. Code § 171 by the U.S. Patent and Trademark Office

on September 28, 2021, attached hereto as “Exhibit A.”

        8.      The ’899 patent claim is valid and enforceable and directed to a unique ornamental

design for a display screen portion with animated graphic user interface as shown and described.

        9.      PayPal has not obtained permission from ETLA to use the ornamental design of the

’899 patent.

        10.     Attached hereto as “Exhibit B” and incorporated into this complaint as alleged

herein a side-by-side claim chart setting forth an ornamental design element comparison of the

second embodiment of the ’899 patented design and the accused display screen portion articles

made by PayPal. The known accused products used within, and exported from the United States




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as made, used, sold, and offered for sale by PayPal is the PayPal “Super App” product for iOS 1

and Android 2 . The side-by-side claim chart and evidentiary facts shall support this claim of

infringement.

         Count I - Infringement of U.S. Patent No. D857,899 Second Embodiment Claim

         11.      ETLA reasserts and incorporates by reference the preceding paragraphs of this

Complaint as fully set forth herein.

         12.      PayPal has infringed and continues to infringe the second embodiment of the ’899

patent by making, using, distributing, offering to sell and/or selling in the United States and

exporting from the United States the PayPal “Super App” animated graphical user interface

products, which embodies the design covered by the ’899 patent. PayPal infringing activities

violate 35 U.S.C. § 271.

                                                Damages

         13. ETLA sustains damages as a direct result of PayPal’s infringement of the ’899 patent.

         14. As a consequence of PayPal’s present, continued, and future infringement of the ’899

patent, ETLA is entitled to royalties for its infringement of the ’899 patent on a forward-going

basis.

                                            Prayer for Relief

         WHEREFORE, ETLA LLC prays for the following relief against PayPal:

         (a)      judgment that PayPal has infringed the second embodiment claim of the Asserted

                  Patent, directly and/or indirectly, literally and/or under the standards of substantial



1
  See: https://apps.apple.com/us/app/paypal-mobile-cash/id283646709
2
  See:
https://play.google.com/store/apps/details?id=com.paypal.android.p2pmobile&hl=en_US&gl=U
S


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               similarity;

      (b)      awarding the Plaintiff the greater damages amount for Defendant’s infringement

               under 35 U.S.C. § 284 or 35 U.S.C. § 289;

      (c)      awarding Plaintiff his costs and expenses incurred in this action;

      (d)      awarding Plaintiff prejudgment and post-judgment interest; and

      (e)      granting Plaintiff such further relief as the Court deems just and appropriate.

                                     Demand for Jury Trial

      ETLA LLC demands a trial by jury on all matters and issues triable by jury.

                                                     Respectfully Submitted,

Date: September 28, 2021                             /s/Artoush Ohanian_______
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                                                     Counsel for ETLA LLC




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